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                              United States District Court
                              Southern District of Florida

   United States of America,              )
                                          )
   v.                                     )
                                              Criminal Case No. 19-20450-CR-Scola
                                          )
   Alex Nain Saab Moran,                  )
   Defendant.                             )

                 Sealed Ex-Parte Order Granting Motion to Seal

        This matter is before the Court on the Government’s Ex-Parte Motion to
  Seal its Ex-Parte Notice of Additional Facts in Support of Response in Opposition
  to Defendant’s Motion to Vacate Order Conferring Fugitive Status and for Leave
  for Special Appearance to Challenge Indictment, filed February 23, 2021.
  Accordingly, it is hereby
        Ordered and Adjudged that the Government’s Motion to Seal (ECF No.
  25) is granted. Government’ Motion to Seal (ECF No. 25), Government’s Ex-
  Parte Notice of Additional Facts in Support of Response in Opposition to
  Defendant's Motion to Vacate Order Conferring Fugitive Status and for Leave for
  Special Appearance to Challenge Indictment (ECF No. 26), and this Order are
  sealed until March 8, 2031 and thereafter unsealed and destroyed by the Clerk
  of Court.
        Done and Ordered at Miami, Florida on March 8, 2021.


                                        _______________________________
                                        Robert N. Scola, Jr.
                                        United States District Judge



  cc:   AUSA Kurt Lunkenheimer
